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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

UNITED STATES OF AMERICA,

              Plaintiff,
                                                              Case No. 08-CR-20601
vs.                                                           HON. GEORGE CARAM STEEH

PAUL HOGAN (D-18),

                Defendant.
_____________________________/

               ORDER GRANTING DEFENDANT’S MOTION FOR
          GOVERNMENT AGENTS TO RETAIN ROUGH NOTES [DOC. 180]

       Defendant Paul Hogan filed this motion for government agents to retain and

preserve all rough notes taken as part of their investigation notwithstanding the fact that

the contents of said notes are now or may later be incorporated in official records or

reports. The stated purpose of defendant’s motion is to place the government on notice

that any destruction of their rough notes cannot be in good faith as of the time of the

filing of the motion. The government has not filed a response to defendant’s motion.

Now, therefore,

       IT IS HEREBY ORDERED that defendant’s motion for retention of rough notes is

GRANTED.

Dated: September 17, 2009

                                             S/George Caram Steeh
                                             GEORGE CARAM STEEH
                                             UNITED STATES DISTRICT JUDGE


                                   CERTIFICATE OF SERVICE

                    Copies of this Order were served upon attorneys of record on
                      September 17, 2009, by electronic and/or ordinary mail.

                                       S/Josephine Chaffee
                                           Deputy Clerk
